                                            Case 20-12814-mkn          Doc 360      Entered 07/13/20 20:46:35    Page 1 of 54




                                        1   BRETT A. AXELROD, ESQ.
                                            Nevada Bar No. 5859                                          Electronically Filed July 13, 2020
                                        2   FOX ROTHSCHILD LLP
                                            1980 Festival Plaza Drive, Suite 700
                                        3   Las Vegas, Nevada 89135
                                        4   Telephone: (702) 262-6899
                                            Facsimile: (702) 597-5503
                                        5   Email: baxelrod@foxrothschild.com
                                            Counsel for the Debtors
                                        6
                                                                       UNITED STATES BANKRUPTCY COURT
                                        7
                                                                                  DISTRICT OF NEVADA
                                        8
                                            In re                                                  Case No. BK-20-12814-mkn
                                        9
                                                    RED ROSE, INC.,                                Jointly Administered with
                                       10                                                          Case No. BK-S-20-12815-mkn
                                                      Affects Beachhead Roofing and Supply, Inc.   Case No. BK-S-20-12816-mkn
                                       11             Affects California Equipment Leasing         Case No. BK-S-20-12818-mkn
                                                                                                   Case No. BK-S-20-12819-mkn
1980 Festival Plaza Drive, Suite 700




                                                       Association, Inc.
                                       12
    Las Vegas, Nevada 89135




                                                      Affects Fences 4 America, Inc.               Case No. BK-S-20-12820-mkn
     FOX ROTHSCHILD LLP



       (702) 597-5503 (fax)




                                                      Affects James Petersen Industries, Inc.      Case No. BK-S-20-12821-mkn
          (702) 262-6899




                                       13
                                                      Affects PD Solar, Inc.                       Case No. BK-S-20-12822-mkn
                                       14             Affects Petersen Roofing and Solar LLC       Case No. BK-S-20-12823-mkn
                                                      Affects Petersen-Dean, Inc.                  Case No. BK-S-20-12824-mkn
                                       15             Affects PetersenDean Hawaii LLC              Case No. BK-S-20-12825-mkn
                                                      Affects PetersenDean Roofing and Solar       Case No. BK-S-20-12826-mkn
                                       16              Systems, Inc.                               Case No. BK-S-20-12827-mkn
                                                      Affects PetersenDean Texas, Inc.             Case No. BK-S-20-12829-mkn
                                       17             Affects Red Rose, Inc.                       Case No. BK-S-20-12831-mkn
                                                      Affects Roofs 4 America, Inc.                Case No. BK-S-20-12833-mkn
                                       18
                                                      Affects Solar 4 America, Inc.
                                       19             Affects Sonoma Roofing Services, Inc.        Chapter 11
                                                      Affects TD Venture Fund, LLC
                                       20             Affects Tri-Valley Supply, Inc.              SCHEDULES OF ASSETS AND
                                                      Affects All Debtors                          LIABILITIES
                                       21
                                       22
                                       23
                                       24

                                       25
                                       26
                                       27
                                       28
                                                                                               1
                                            Active\112243033
        Case 20-12814-mkn              Doc 360        Entered 07/13/20 20:46:35              Page 2 of 54




      GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY
         AND DISCLAIMER REGARDING THE DEBTORS’ SCHEDULES OF
      ASSETS AND LIABILITIES, AND STATEMENTS OF FINANCIAL AFFAIRS

         Petersen-Dean, Inc., Beachhead Roofing & Supply, Inc., California Equipment Leasing

Association, Inc., Fences 4 America, Inc., James Petersen Industries, Inc., PD Solar, Inc., Petersen

Roofing and Solar LLC, PetersenDean Hawaii LLC, PetersenDean Roofing and Solar Systems,

Inc., PetersenDean Texas, Inc., Red Rose, Inc., Roofs 4 America, Inc., Solar 4 America, Inc.,

Sonoma Roofing Services, Inc., TD Venture Fund, LLC, and Tri-Valley Supply, Inc., debtors and

debtors in possession (collectively, the “Debtors”), in the above captioned chapter 11 cases (the

“Chapter 11 Cases”), by and through their proposed undersigned counsel, Fox Rothschild LLP

(“Counsel”), are filing their respective Schedules of Assets and Liabilities (collectively, the

“Schedules”) and Statements of Financial Affairs (collectively, the “Statements,” and together with

the Schedules, collectively, the “Schedules and Statements”)1 in the United States Bankruptcy

Court for the District of Nevada (the “Court”). The Debtors, which were assisted by their

professional advisors, prepared the Schedules and Statements in accordance with section 521 of

title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and Rule

1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

         These Global Notes and Statement of Limitations, Methodology and Disclaimer regarding

the Schedules and Statements (collectively, the “Global Notes”) pertain to, are incorporated by

reference in, and comprise an integral part of, all of the Schedules and Statements. These Global

Notes should be referred to, and reviewed in connection with, any review of the Schedules and

Statements.


1
 These Global Notes are in addition to any specific notes that may be contained in each of the Schedules or Statements.
The fact that the Debtors have prepared a general note herein with respect to any of the Schedules and Statements and
not to others should not be interpreted as a decision by the Debtors to exclude the applicability of such general note
to any of the Debtors’ remaining Schedules and Statements, as appropriate.



Active\112145750.v1-7/9/20
         Case 20-12814-mkn       Doc 360     Entered 07/13/20 20:46:35        Page 3 of 54




         The Schedules and Statements have been prepared based on information provided by the

Debtors’ management and are unaudited and subject to potential adjustment. In preparing the

Schedules and Statements, the Debtors relied on financial data derived from their books and

records that was available at the time of preparation. The Debtors have used commercially

reasonable efforts to ensure the accuracy and completeness of such financial information; however,

subsequent information or discovery may result in material changes to the Schedules and

Statements and inadvertent errors, omissions or inaccuracies may exist. The Debtors and their

estates reserve all rights to amend or supplement their Schedules and Statements.

         Reservation of Rights. Nothing contained in the Schedules and Statements or these

Global Notes shall constitute a waiver of any of the Debtors’ rights or an admission with respect

to their chapter 11 cases, including, but not limited to, any issues involving objections to claims,

setoff    or   recoupment,   substantive   consolidation,   equitable    subordination,   defenses,

characterization or re-characterization of contracts, leases and claims, assumption or rejection of

contracts and leases and/or causes of action arising under the Bankruptcy Code or any other

applicable laws to recover assets or avoid transfers.

         Description of the Cases and “As of” Information Date. On June 11, 2020 (the “Petition

Date”), each of the Debtors filed a voluntary petition for relief with the Court under chapter 11 of

the Bankruptcy Code. The Debtors are operating their business and managing their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On June 23,

2020, the Court entered an order [ECF No. 94] jointly administering the Debtors’ chapter 11 cases

pursuant to Bankruptcy Rule 1015(b). All financial information for the Debtors in the Schedules

and Statements and these Global Notes is provided as of the Petition Date unless otherwise

indicated herein or in the Schedules and Statements.


                                                 2
Active\112145750.v1-7/9/20
        Case 20-12814-mkn       Doc 360      Entered 07/13/20 20:46:35        Page 4 of 54




        Basis of Presentation. The Schedules and Statements do not purport to represent financial

statements prepared in accordance with Generally Accepted Accounting Principles (“GAAP”), nor

are they intended to fully reconcile to any financial statements prepared by the Debtors. Therefore,

combining the assets and liabilities set forth in the Schedules and Statements could result in

amounts that could be substantially different from any financial information regarding the Debtors

prepared on a consolidated basis under GAAP. Unlike any consolidated financial statements, the

Schedules and Statements, except where otherwise indicated herein or in the Schedules and

Statements, reflect the assets and liabilities of each Debtor on a non-consolidated basis, where

possible.

        Recharacterization.     Notwithstanding the Debtors’ reasonable efforts to properly

characterize, classify, categorize, or designate certain claims, assets, executory contracts,

unexpired leases, and other items reported in the Schedules and Statements, the Debtors may

nevertheless seek to recharacterize, reclassify, recategorize, redesignate, add, or delete items

included in the Schedules and Statements, and the Debtors and their estates reserve all rights in

this regard.

        Consolidated Entity Accounts Payable and Disbursement Systems.                The Debtors

maintain a centralized cash management system (the “Cash Management System”). The Debtors

maintain the Cash Management System to collect, concentrate, and disburse funds generated from

their operations. A more complete description of the Debtors’ Cash Management System is set

forth in the Emergency Motion For Order Pursuant to 11 U.S.C. §§363, 1107 and 1108 (I)

Authorizing Continued Use of Prepetition Bank Accounts; and (II) Granting Related Relief (the

“Cash Management Motion”) filed on June 16, 2020 (ECF No. 36].




                                                 3
Active\112145750.v1-7/9/20
        Case 20-12814-mkn         Doc 360     Entered 07/13/20 20:46:35         Page 5 of 54




        Insiders. For purposes of the Schedules and Statements, the Debtors define “insiders”

pursuant to section 101(31) of the Bankruptcy Code as (a) current or former directors, officers or

persons in control of a Debtor, (b) relatives of current or former directors, officers, or persons in

control of a Debtor, (c) a partnership in which a Debtor is a general partner or (d) an affiliate of a

Debtor. Except as otherwise disclosed herein or in the Statements, payments to insiders listed in

(a) through (d) above are set forth on Statement 3(c). Persons listed as “insiders” have been

included for informational purposes only, and such listing is not intended to be, nor should it be

construed as, a legal characterization of such person as an insider, and does not act as an admission

of any fact, claim, right or defense, and all such rights, claims, and defenses with respect thereto

are hereby expressly reserved. Further, the Debtors and their estates do not take any position with

respect to: (a) such person’s influence over the control of the Debtors; (b) the management

responsibilities or functions of such individual; (c) the decision-making or corporate authority of

such individual; or (d) whether such individual could successfully argue that he or she is not an

“insider” under applicable law, including, without limitation, the federal securities laws, or with

respect to any theories of liability or for any other purpose.

        Summary of Significant Reporting Policies. The following is a summary of certain

significant reporting policies:

        a.       Current Market Value — Net Book Value. In many instances, current market

valuations are neither maintained by, nor readily available to, the Debtors.            It would be

prohibitively expensive and unduly burdensome to obtain current market valuations of the

Debtors’ property interests that are not maintained or readily available. Accordingly, unless

otherwise indicated herein or in the Schedules and Statements, the Schedules and Statements

reflect the net book values, rather than current market values, of the Debtors’ assets as of the


                                                  4
Active\112145750.v1-7/9/20
        Case 20-12814-mkn         Doc 360     Entered 07/13/20 20:46:35         Page 6 of 54




Petition Date (unless another date is indicated herein or in the Schedules and Statements) and may

not reflect the net realizable value.

        b.       First Day Orders. Pursuant to various “first day” orders and any supplements or

amendments to such orders entered by the Court (each, a “First Day Order,” and collectively, the

“First Day Orders”), the Debtors and their estates are authorized to pay certain pre-petition claims,

including, without limitation, certain claims relating to employee wages and benefits. Except to

the extent that these parties have claims in excess of the authority granted to the Debtors under the

First Day Orders, in certain instances, the Debtors may have not included certain claims of this

nature in the Schedules and Statements.

        c.       Setoffs. To the extent the Debtors have incurred or effectuated any ordinary course

setoffs with third parties (including, without limitation, customers and vendors) prior to the

Petition Date, or are subject to the occurrence of, or maintain the right to effectuate, ordinary

course setoffs on account of activities occurring prior to the Petition Date, such setoffs are excluded

from the Debtors’ Schedules and Statements. The Debtors and their estates reserve all of their

rights with respect to any such setoffs.

        d.       Credits and Adjustments. Claims of creditors are listed in the amounts entered

on the Debtors’ books and records and may not reflect credits, allowances or other adjustments

due from such creditors to the Debtors. The Debtors and their estates reserve all of their rights

with regard to such credits, allowances and other adjustments, including, without limitation, the

right to assert claims objections, setoffs and recoupments with respect to the same.

        e.       Accounts Receivable. The accounts receivable information listed on Schedule B

includes both billed and unbilled receivables, and is net of allowance for doubtful accounts.




                                                  5
Active\112145750.v1-7/9/20
        Case 20-12814-mkn         Doc 360      Entered 07/13/20 20:46:35          Page 7 of 54




        f.       Leases. In the ordinary course of business, the Debtors may lease certain real

property, fixtures and equipment from certain third-party lessors for use in the daily operation of

their business. Nothing in the Schedules and Statements is, or shall be construed as, an admission

as to the determination of the legal status of any lease (including, without limitation, whether any

lease is a true lease or a financing arrangement, and whether such lease is unexpired), and the

Debtors and their estates reserve all rights with respect to such issues.

        g.       Entity Classification Issues. The Debtors have endeavored in good faith to

identify the assets owned by each Debtor, the liabilities owed by each Debtor, and the Debtor that

is a counterparty to executory contacts and unexpired leases. While the Schedules reflect the

results of this effort, several factors may impact the ability of the Debtors to precisely assign assets,

liabilities, and executory contacts and unexpired leases to particular Debtor entities, including, but

not limited to: (a) certain assets and executory contacts and unexpired leases may be primarily

used by a Debtor other than the entity which holds title to such assets or is a party to such executory

contact and unexpired lease according to the Debtors’ books and records; (b) the Debtor entity that

owns or holds title to certain assets or is a party to certain executory contacts and unexpired leases

may not be ascertainable given the consolidated manner in which the Debtors have operated their

business; (c) certain liabilities may have been nominally incurred by one Debtor, yet such liabilities

may have actually been incurred by, or the invoices related to such liabilities may have been issued

to or in the name of, another Debtor; and (d) certain creditors of the Debtors may have treated one

or more of the Debtors as a consolidated entity rather than as differentiated entities.

        h.       Executory Contracts and Unexpired Leases. The Debtors have not set forth

executory contracts and unexpired leases as assets in the Schedules and Statements, even though

these contracts and leases may have some value to the Debtors’ estates. Rather, the Debtors’


                                                   6
Active\112145750.v1-7/9/20
        Case 20-12814-mkn         Doc 360     Entered 07/13/20 20:46:35         Page 8 of 54




executory contracts and unexpired leases have been set forth solely on Schedule G. The Debtors’

rejection of executory contracts and unexpired leases may result in the assertion of rejection

damages claims; however, the Schedules and Statements do not reflect any claims for rejection

damages. The Debtors and their estates reserve any and all rights with respect to the assertion of

any such claims.

        i.       Intercompany Claims. For certain reporting and internal accounting purposes, the

Debtors record certain intercompany receivables and payables. Receivables and payables among

the Debtors are reported as assets on Schedule B or liabilities on Schedule F as appropriate

(collectively, the “Intercompany Claims”). While the Debtors have used commercially reasonable

efforts to ensure that the proper intercompany balance is attributed to each legal entity, the Debtors

and their estates reserve all rights to amend the Intercompany Claims in the Schedules and

Statements, including, without limitation, to change the characterization, classification,

categorization or designation of such claims, including, but not limited to, the right to assert that

any or all Intercompany Claims are, in fact, consolidated or otherwise properly assets or liabilities

of a different Debtor entity.

        j.       Unknown or Undetermined Amounts. Where a description of an amount is left

blank or listed as “unknown” or “undetermined,” such response is not intended to reflect upon the

materiality of such amount.

        k.       Liabilities. At the time of the filing of the Schedules and Statements, the Debtors

are continuing to reconcile certain accounts payable liabilities. The Debtors have sought to

allocate liabilities between the prepetition and post-petition periods based on the information

available at the time of the filing of the Schedules and Statements. As additional information

becomes available and further research is conducted, the allocation of liabilities between the


                                                  7
Active\112145750.v1-7/9/20
        Case 20-12814-mkn        Doc 360      Entered 07/13/20 20:46:35         Page 9 of 54




prepetition and postpetition periods may change. Accordingly, the Debtors and their estates

reserve all rights to amend, supplement, or otherwise modify the Schedules and Statements as is

necessary or appropriate. The liabilities listed on the Schedules do not reflect any analysis of any

claims under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors and their estates

reserve all rights to dispute or challenge the validity of any claims asserted under section 503(b)(9)

of the Bankruptcy Code, or characterization of the structure of any transaction, document or

instrument related to any such claim.

        l.       Estimates. To timely close the books and records of the Debtors and to prepare

such information on a legal entity basis, the Debtors were required to make certain estimates and

assumptions that affect the reported amounts of assets and liabilities and reported revenue and

expenses. The Debtors and their estates reserve all rights to amend the reported amounts of assets,

liabilities, revenue and expenses to reflect changes in those estimates and assumptions.

        m.       Classifications. Listing a claim (a) on Schedule D as “secured,” (b) on Schedule

E as “unsecured priority,” or (c) on Schedule F as “unsecured non-priority,” or listing a contract

or lease on Schedule G as “executory” or “unexpired,” does not constitute an admission by the

Debtors and their estates of the legal rights of any claimant, or a waiver of the rights of the Debtors

and their estates to recharacterize or reclassify any claim or contract.

        n.       Claims Description.     Any failure to designate a claim on a given Debtor’s

Schedules as “disputed,” “contingent,” or “unliquidated” does not constitute an admission by the

Debtor and its estate that such amount is not “disputed,” “contingent” or “unliquidated.” The

Debtors and their estates reserve all rights to dispute, or to assert any offsets or defenses to, any

claim reflected on their Schedules on any grounds, including, without limitation, amount, liability,

validity, priority or classification, or to otherwise subsequently designate any claim as “disputed,”


                                                  8
Active\112145750.v1-7/9/20
       Case 20-12814-mkn        Doc 360      Entered 07/13/20 20:46:35         Page 10 of 54




“contingent” or “unliquidated.” Listing a claim on the Schedules does not constitute an admission

of liability by the Debtors and their estates, and the Debtors and their estates reserve all rights to

amend the Schedules.

        o.       Guaranties and Other Secondary Liability Claims.             Guaranties and other

secondary liability claims (collectively, the “Guaranties”) with respect to the Debtors’ contracts

and leases may not be included on Schedule H and the Debtors believe that certain Guaranties

embedded in the Debtors’ executory contracts, unexpired leases, secured financings, debt

instruments and similar agreements may exist. Therefore, the Debtors and their estates reserve all

rights to amend the Schedules to the extent additional Guaranties are identified.

                                    NOTES FOR SCHEDULES

        Schedule B — Personal Property. Despite their commercially reasonable efforts to

identify all known assets, the Debtors may not have listed all of their respective causes of action

or potential causes of action against third parties as assets in their respective Schedules and

Statements, including, but not limited to, causes of action arising under the Bankruptcy Code or

any other applicable laws to recover assets or avoid transfers. The Debtors and their estates reserve

all of their rights with respect to any claims and causes of action that they may have, and neither

these Global Notes nor the Schedules and Statements shall be deemed a waiver of any such claims

and causes of actions, or in any way waive, prejudice, impair or otherwise affect the assertion of

such claims and causes of action.

        Patents, trademarks, and other intellectual property is listed on Schedule B22 as an

unknown or undetermined amount on account of the fact that the fair market value of such

ownership is dependent on numerous variables and factors and may differ significantly from the

net book value.


                                                  9
Active\112145750.v1-7/9/20
       Case 20-12814-mkn           Doc 360    Entered 07/13/20 20:46:35          Page 11 of 54




        Since the deposit provided for under that Order Pursuant to 11 U.S.C. § 366 Re: Adequate

Assurance of Payment for Postpetition Utility Services [ECF No. 54] did not exist as of the Petition

Date, the Debtors have not accounted for it on Schedule B.

        Schedule D — Creditors Holding Secured Claims. Except as otherwise agreed pursuant

to a stipulation, agreed order, or general order entered by the Court that is or becomes final, the

Debtors and their estates reserve all rights to dispute or challenge the validity, perfection or

immunity from avoidance of any lien purported to be granted or perfected in any specific asset to

a creditor listed on Schedule D of any of the Debtors. Moreover, although the Debtors may have

scheduled claims of various creditors as secured claims for informational purposes, no current

valuation of the Debtors’ assets in which such creditors may have a lien has been undertaken.

Except as otherwise agreed pursuant to a stipulation, agreed order, or general order entered by the

Court that is or becomes final, the Debtors and their estates reserve all rights to dispute or challenge

the secured nature of any such claim or the characterization of the structure of any transaction,

document or instrument related to any such claim. The descriptions provided in Schedule D are

intended only to be a summary. The Debtors have not included on Schedule D all parties that may

believe their claims are secured through setoff rights, deposits posted by, or on behalf of, the

Debtors, inchoate statutory lien rights, or real property lessors, utility companies and other parties

which may hold security deposits. By listing a party on Schedule D based on a UCC-1 filing, the

Debtors and their estates are not conceding that such party actually holds a perfected, unavoidable

security interest in the asset that is the subject of such filing, and reserve all rights as set forth in

these Global Notes. Certain of the amounts listed for parties on Schedule D may not be reflective

of any accrued and unpaid interest, prepayment premiums, and other similar fees or expenses that

such parties may be entitled to.


                                                   10
Active\112145750.v1-7/9/20
       Case 20-12814-mkn        Doc 360       Entered 07/13/20 20:46:35      Page 12 of 54




        Schedule E — Creditors Holding Unsecured Priority Claims. The Debtors have not

listed on Schedule E any tax and priority employee wage and benefit claims for which the Debtors

have been granted authority (but not direction) to pay pursuant to a First Day Order. The Debtors

believe that such claims have been, or will be, satisfied in the ordinary course of business during

these chapter 11 cases pursuant to the authority granted in the relevant First Day Orders. The

Debtors and their estates reserve all rights to dispute or challenge whether creditors listed on

Schedule E are entitled to priority claims.

        Schedule F — Creditors Holding Unsecured Non-Priority Claims. Certain creditors

listed on Schedule F may owe amounts to the Debtors; as such, the Debtors and their estates may

have valid setoff and recoupment rights with respect to such amounts, which rights are not reflected

on Schedule F. Also, the amounts listed on Schedule F reflect known prepetition claims as of

Petition Date. Such amounts do not reflect any rights of setoff or recoupment that may be asserted

by any creditors listed on Schedule F, and the Debtors and their estates reserve all rights to

challenge any setoff and recoupment rights that may be asserted against them. The Debtors and

their estates reserve all rights to dispute or challenge the validity, perfection or immunity from

avoidance of any lien purported to be perfected by a creditor listed on Schedule F. As noted above,

certain claims listed on Schedule F may be entitled to priority under section 503(b)(9) of the

Bankruptcy Code, and the Debtors and their estates reserve all rights with respect to any such

claims. Schedule F contains certain information regarding pending litigation involving the

Debtors.     The amounts for these potential claims are listed as unknown or undetermined,

contingent, unliquidated and disputed in the Schedules.

        The Debtors have used commercially reasonable efforts to include all creditors on Schedule

F; however, the Debtors believe that there are instances in which vendors have yet to provide


                                                 11
Active\112145750.v1-7/9/20
       Case 20-12814-mkn         Doc 360     Entered 07/13/20 20:46:35       Page 13 of 54




proper invoices for prepetition goods or services. While the Debtors maintain general accruals to

account for these liabilities in accordance with GAAP, these amounts are estimates and not tracked

on a vendor by vendor basis, and as such may not have been included on Schedule F. The Debtors

may not have listed on Schedule F certain (but not all) unsecured non-priority employee wage or

benefit claims, claims related to vendors, or claims related to the Debtors’ insurance programs for

which the Debtors have been granted authority (but not direction) to pay pursuant to a First Day

Order. The Debtors believe that such claims have been, or will be, satisfied in the ordinary course

of business during these chapter 11 cases pursuant to the authority granted in the relevant First

Day Orders. The Debtors and their estates reserve their rights to dispute or challenge whether

creditors listed on Schedule F are entitled to priority claims.

        Schedule G — Executory Contracts and Unexpired Leases. Although commercially

reasonable efforts have been made to ensure the accuracy of Schedule G regarding executory

contracts and unexpired leases, inadvertent errors, omissions or over-inclusion may have occurred

in preparing Schedule G. In the ordinary course of business, the Debtors enter into various

agreements with their customers and vendors. The Debtors may have entered into various other

types of agreements in the ordinary course of their business, such as indemnity agreements,

supplemental agreements, letter agreements, and confidentiality agreements which may not be set

forth in Schedule G. Omission of a contract, lease or other agreement from Schedule G does not

constitute an admission that such omitted contract, lease or agreement is not an executory contract

or unexpired lease. Schedule G may be amended at any time to add any omitted executory

contracts, unexpired leases and other agreements to which the Debtors are a party, including,

without limitation, to add any executory contracts, unexpired leases and other agreements that the

Debtors, due to the voluminous number of such contracts, leases and agreements, were unable to


                                                 12
Active\112145750.v1-7/9/20
       Case 20-12814-mkn         Doc 360      Entered 07/13/20 20:46:35          Page 14 of 54




list on Schedule G at this time. Likewise, the listing of an agreement on Schedule G does not

constitute an admission that such agreement is an executory contract or unexpired lease, or that

such agreement was in effect or unexpired on the Petition Date or is valid or enforceable. The

agreements listed on Schedule G may have expired or may have been modified, amended, or

supplemented from time to time by various amendments, restatements, waivers, estoppel

certificates, letters and other documents, instruments and agreements which may not be listed on

Schedule G.

        Any and all rights, claims and causes of action of the Debtors and their estates with respect

to the agreements listed on Schedule G are hereby reserved and preserved. The Debtors and their

estates hereby reserve all of their rights to: (a) dispute the validity, status, or enforceability of any

agreements set forth on Schedule G; (b) dispute or challenge the characterization of the structure

of any transaction, document or instrument related to a creditor’s claim, including, but not limited

to, the agreements listed on Schedule G; and (c) amend or supplement Schedule G, as necessary,

including, without limitation, to modify which Debtor entity is a counterparty to the agreement.

                                   NOTES FOR STATEMENTS

        Statement 3b. Statement 3b includes any disbursement or other transfer made by that

particular Debtor, except for those made to insiders, employees, and bankruptcy professionals.

The amounts listed in Statement 3b reflect that Debtor’s disbursements netted against any check

level detail; thus, to the extent a disbursement was made to pay for multiple invoices, only one

entry has been listed on Statement 3b. All disbursements listed on Statement 3b were made by

that particular Debtor.

        Statement 3(c) and 23. As previously set forth herein and in more detail in the Cash

Management Motion, the Debtors maintain a centralized cash management system. As a result,

during the year preceding the Petition Date, certain payments may have been made to insiders of
                                                13
Active\112145750.v1-7/9/20
       Case 20-12814-mkn          Doc 360    Entered 07/13/20 20:46:35        Page 15 of 54




each of the Debtors by one or more of the other Debtors, and some of these payments may have

been for the benefit of another Debtor. These payments are listed on Statement 3(c) and 23 for the

Debtor making the payment, even if the payment was made to or for the benefit of an insider of

another Debtor.

        Statement 4(a). The Debtors and their estates reserve all rights, claims and defenses with

respect to any and all listed lawsuits and administrative proceedings (or potential lawsuits and

administrative proceedings). The listing of any such suits and proceedings shall not constitute an

admission by the Debtors and their estates of any liabilities or that the actions or proceedings were

correctly filed against the Debtors. The Debtors and their estates reserve all rights to assert that

the Debtors are not an appropriate party to such actions or proceedings. The Debtors may not have

included on Statement 4(a) certain parties that may have asserted informal workers’ compensation

claims or similar claims that were resolved or otherwise addressed without formal litigation or an

administrative hearing or similar proceeding having been commenced.

        Statement 9. Debtor PDI made payments on behalf of all of the Debtors to various

professionals for restructuring services. The payments listed in Statement 9 are generally only for

restructuring-related services.    The Debtors may have made other payments to the listed

professionals for non-bankruptcy related services, but these payments are not listed in Statement

9.




                                                 14
Active\112145750.v1-7/9/20
                           Case 20-12814-mkn                                   Doc 360                 Entered 07/13/20 20:46:35                                      Page 16 of 54
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number           20-12823-mkn
  (if known)
                                                                                                                                                                               ¨ Check if this is an
                                                                                                                                                                                  amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                        04/19



  Part 1:       Summary of Assets



 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)


     1a. Real property:
                                                                                                                                                                                   UNKNOWN
         Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
         .

     1b. Total personal property:
                                                                                                                                                                                 $4,008,210.02
         Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
         .

     1c. Total of all property:
                                                                                                                                                                                 $4,008,210.02
         Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
         .




    Part 2:       Summary of Liabilities



   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                $28,447,370.00
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D . . . . . . . . .



   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                      $21,150.13
            Copy the total claims from Part 1 from line 6a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . .
            .

        3b. Total amount of claims of nonpriority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                  +              $2,473,495.69




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                                $30,942,015.82
      Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                                       Page 1 of 1
                        Case 20-12814-mkn                  Doc 360       Entered 07/13/20 20:46:35                  Page 17 of 54
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)
                                                                                                                                    ¨ Check if this is an
                                                                                                                                       amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                 04/19

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
 the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
 additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:        CASH AND CASH EQUIVALENTS

 1.    DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
       ¨       No. Go to Part 2.
       þ       Yes. Fill in the information below.



          All cash or cash equivalents owned or controlled by the debtor                                                            Current value of
                                                                                                                                    debtor’s interest

 2.    CASH ON HAND
       NONE

 3.    CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
       (IDENTIFY ALL)
       Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number
       3.1.         CALIFORNIA BANK AND TRUST                         GENERAL CHECKING            1975                                              $0.00
                                                                      ACCOUNT - SWEEP
       3.2.         CALIFORNIA BANK AND TRUST                         PAYROLL CHECKING            1967                                              $0.00
                                                                      ACCOUNT - SWEEP
       3.3.         FIRST HAWAIIAN BANK                               DIVISIONAL CHECKING         4968                                             $20.00
                                                                      ACCT/PETTY CASH - KAUAI
       3.4.         FIRST HAWAIIAN BANK                               DIVISIONAL CHECKING         4925                                          $3,224.81
                                                                      ACCT/PETTY CASH - MAUI
       3.5.         FIRST HAWAIIAN BANK                               DIVISIONAL CHECKING         4941                                          $2,172.24
                                                                      ACCT/PETTY CASH - OAHU
       3.6.         FIRST HAWAIIAN BANK                               DIVISIONAL CHECKING         4933                                             $20.00
                                                                      ACCT/PETTY CASH
                                                                      -PAYROLL (INACTIVE)
       3.7.         FIRST HAWAIIAN BANK                               GENERAL CHECKING            4917                                         $28,559.19
                                                                      ACCOUNT
       3.8.         FIRST REPUBLIC BANK                               GENERAL CHECKING            6785                                              $0.00
                                                                      ACCOUNT - SWEEP
       3.9.         FIRST REPUBLIC BANK                               PAYROLL CHECKING            5762                                              $0.00
                                                                      ACCOUNT
       3.10.        FIRST REPUBLIC BANK                               PAYROLL CHECKING            5968                                              $0.00
                                                                      ACCOUNT - SWEEP
       3.11.        FIRST REPUBLIC BANK                               PETERSENDEAN HAWAII         9735                                        $806,393.68
                                                                      LLC (P 9735)
       3.12.        WELLS FARGO BANK, N.A.                            COMMERCIAL DEMAND           368                                               $0.00
                                                                      DEPOSIT ACCOUNT
 4.    OTHER CASH EQUIVALENTS
       NONE


Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                                        Page 1 of 8
 Debtor                Case 20-12814-mkn
              PetersenDean Hawaii LLC                   Doc 360        Entered 07/13/20    20:46:35
                                                                                  Case number (if known)      Page 18 of 54
                                                                                                         20-12823-mkn
              (Name)


 5    Total of Part 1.
      ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE                                                            $840,389.92
      TOTAL TO LINE 80.

 Part 2:      DEPOSITS AND PREPAYMENTS

 6.   DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
      ¨      No. Go to Part 3.
      þ      Yes. Fill in the information below.


                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest

 7.   DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
      DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT
      7.1.        UTILITY DEPOSIT - ELECTRICITY - HAWAIIAN ELECTRIC COMPANY                                                                         $0.00
      7.2.        UTILITY DEPOSIT - ELECTRICITY - KAUA’I ISLAND UTILITY COOPERA+                                                                    $0.00
      7.3.        UTILITY DEPOSIT - ELECTRICITY - MAUI ELECTRIC CO. LTD.                                                                            $0.00
      7.4.        UTILITY DEPOSIT - ISP - SPECTRUM BUSINESS                                                                                         $0.00
      7.5.        UTILITY DEPOSIT - RENT UTILITIES - 220 LALO PLACE LLC                                                                             $0.00
      7.6.        UTILITY DEPOSIT - RENT UTILITIES - LIPT EAST KAAHUMANU AVE. LLC                                                                   $0.00
      7.7.        UTILITY DEPOSIT - VOICE AND ISP - HAWAIIAN TELCOM                                                                                 $0.00
      7.8.        UTILITY DEPOSIT - WATER - BOARD OF WATER SUPPLY                                                                                   $0.00
      7.9.        UTILITY DEPOSIT - WATER - DEPARTMENT OF WATER SUPPLY                                                                              $0.00

 8.   PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
      INSURANCE, TAXES, AND RENT
      DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT
      NONE

 9    Total of Part 2.
      ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.                                                                                             $0.00


 Part 3:      ACCOUNTS RECEIVABLE

 10. DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
      ¨      No. Go to Part 4.
      þ      Yes. Fill in the information below.


                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest

 11. ACCOUNTS RECEIVABLE
      ACCOUNTS RECEIVABLE                          $3,167,820.1                                   $0.00      = è                            $3,167,820.10
                                                                   -
                                                     face amount       doubtful or uncollectable accounts

 12   Total of Part 3.
      CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                                $3,167,820.10


 Part 4:      INVESTMENTS

 13. DOES THE DEBTOR OWN ANY INVESTMENTS?
      þ      No. Go to Part 5.
      ¨      Yes. Fill in the information below.


                                                                                                            Valuation method used   Current value of
                                                                                                            for current value       debtor’s interest

 14. MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
      NAME OF FUND OR STOCK:




Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                           Page 2 of 8
 Debtor               Case 20-12814-mkn
             PetersenDean Hawaii LLC                   Doc 360       Entered 07/13/20    20:46:35
                                                                                Case number (if known)      Page 19 of 54
                                                                                                       20-12823-mkn
             (Name)


                                                                                                Valuation method used    Current value of
                                                                                                for current value        debtor’s interest
 15. NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
     UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC, PARTNERSHIP,
     OR JOINT VENTURE

 16. GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
     NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
      DESCRIBE:

 17   Total of Part 4.
      ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.                                                                    NOT APPLICABLE


 Part 5:     INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18. DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
      þ     No. Go to Part 6.
      ¨     Yes. Fill in the information below.



          General description                         Date of the last     Net book value of     Valuation method used   Current value of
                                                      physical inventory   debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 19. RAW MATERIALS

 20. WORK IN PROGRESS

 21. FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE

 22. OTHER INVENTORY OR SUPPLIES

 23   Total of Part 5.
      ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.                                                                    NOT APPLICABLE

 24. Is any of the property listed in Part 5 perishable?
     þ No
     ¨ Yes
 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     ¨ No
     þ Yes      Book value       $139,989.44 Valuation method Net Book Value                                        Current value   $139,989.44

 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 6:     FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27. DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
     LAND)?
      þ     No. Go to Part 7.
      ¨     Yes. Fill in the information below.


          General description                                              Net book value of     Valuation method used   Current value of
                                                                           debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 28. CROPS—EITHER PLANTED OR HARVESTED

 29. FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH

 30. FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES) (OTHER
     THAN TITLED MOTOR VEHICLES)

 31. FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED

 32. OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6




Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                 Page 3 of 8
 Debtor                Case 20-12814-mkn
              PetersenDean Hawaii LLC                   Doc 360          Entered 07/13/20    20:46:35
                                                                                    Case number (if known)      Page 20 of 54
                                                                                                           20-12823-mkn
              (Name)


 33   Total of Part 6.
      ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.                                                                    NOT APPLICABLE

 34. Is the debtor a member of an agricultural cooperative?
     þ No
     ¨ Yes. Is any of the debtor’s property stored at the cooperative?
          ¨ No
          ¨ Yes
 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes
 36. Is a depreciation schedule available for any of the property listed in Part 6?
     þ No
     ¨ Yes
 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 7:      OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38. DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
      ¨     No. Go to Part 8.
      þ     Yes. Fill in the information below.



          General description                                                 Net book value of   Valuation method used   Current value of
                                                                              debtor's interest   for current value       debtor’s interest
                                                                              (Where available)

 39. OFFICE FURNITURE
      39.1.       KONICA MINOLTA BUSINESS SOLUTIONS                                    UNKNOWN                                      UNKNOWN

 40. OFFICE FIXTURES
      NONE

 41. OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
     SYSTEMS EQUIPMENT AND SOFTWARE
      NONE

 42. COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR
     OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND CRYSTAL;
     STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS,
     MEMORABILIA, OR COLLECTIBLES
      NONE

 43   Total of Part 7.
      ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.                                                                           UNKNOWN


 44. Is a depreciation schedule available for any of the property listed in Part 7?
     þ No
     ¨ Yes
 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 8:      MACHINERY, EQUIPMENT, AND VEHICLES

 46. DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
      ¨     No. Go to Part 9.
      þ     Yes. Fill in the information below.


          General description                                                 Net book value of   Valuation method used   Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   for current value       debtor’s interest
          HIN, or N-number)                                                   (Where available)

 47. AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
     VEHICLES


Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                  Page 4 of 8
 Debtor               Case 20-12814-mkn
             PetersenDean Hawaii LLC                    Doc 360          Entered 07/13/20    20:46:35
                                                                                    Case number (if known)      Page 21 of 54
                                                                                                           20-12823-mkn
             (Name)


          General description                                                 Net book value of   Valuation method used   Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   for current value       debtor’s interest
          HIN, or N-number)                                                   (Where available)

 47. AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
     VEHICLES
      47.1.      2000 CHEVY LICENSE PLATE # 544 TTW                                    UNKNOWN                                      UNKNOWN
      47.2.      2003 TOYOTA LICENSE PLATE # 267 TTV                                   UNKNOWN                                      UNKNOWN
      47.3.      2004 FORD F-250 BIG RED VIN# 1FTNX20L34EB86679                        UNKNOWN                                      UNKNOWN
      47.4.      2004 FORD RANGER VIN# 1FTYR10D84PB27609                               UNKNOWN                                      UNKNOWN
      47.5.      2005 CHEVY 1500 VIN# 1GCEC14V05Z290770                                UNKNOWN                                      UNKNOWN
      47.6.      2005 CHEVY LICENSE PLATE # 299 TTV                                    UNKNOWN                                      UNKNOWN
      47.7.      2005 CHEVY LICENSE PLATE # 722 MDG                                    UNKNOWN                                      UNKNOWN
      47.8.      2005 FORD LICENSE PLATE # 474 MDA                                     UNKNOWN                                      UNKNOWN
      47.9.      2005 NISSAN LICENSE PLATE # 170 MDH                                   UNKNOWN                                      UNKNOWN
      47.10.     2006 CHEVY EXPRESS VIN# 1GCHG39U761217635                             UNKNOWN                                      UNKNOWN
      47.11.     2006 FORD LICENSE PLATE # 305 MDD                                     UNKNOWN                                      UNKNOWN
      47.12.     2007 DODGE RAM W/ LIFTGATE VIN#                                       UNKNOWN                                      UNKNOWN
                 3D7KR26D57G773241
      47.13.     2007 FORD CLF FLAT BED VIN# 3FRLL45Z87V500530                         UNKNOWN                                      UNKNOWN
      47.14.     2007 FORD E-250 VIN# 1FTNE24L37DB01463                                UNKNOWN                                      UNKNOWN
      47.15.     2007 FORD F-150 VIN# 1FTRF12277NA15120                                UNKNOWN                                      UNKNOWN
      47.16.     2008 CHEVY LICENSE PLATE # 874 MDF                                    UNKNOWN                                      UNKNOWN
      47.17.     2008 DODGE LICENSE PLATE # 581 TVW                                    UNKNOWN                                      UNKNOWN
      47.18.     2008 DODGE LICENSE PLATE # 616 TVW                                    UNKNOWN                                      UNKNOWN
      47.19.     2008 DODGE RAM VIN# 1D7HA16N88J185354                                 UNKNOWN                                      UNKNOWN
      47.20.     2008 DODGE RAM VIN# 1D7HA16NX8J185355                                 UNKNOWN                                      UNKNOWN
      47.21.     2008 DODGE SXT VIN# 1D7HE32K88S528203                                 UNKNOWN                                      UNKNOWN
      47.22.     2008 FORD F-150 VIN# 1FTVX14598KD81814                                UNKNOWN                                      UNKNOWN
      47.23.     2008 FORD RANGER VIN# 1FTYR10U08PA56847                               UNKNOWN                                      UNKNOWN
      47.24.     2009 CHEVY EXPRESS VIN# 1GCGG25C091125886                             UNKNOWN                                      UNKNOWN
      47.25.     2009 CHEVY EXPRESS VIN# 1GCGG25C191128960                             UNKNOWN                                      UNKNOWN
      47.26.     2009 CHEVY LICENSE PLATE # 127 TTV                                    UNKNOWN                                      UNKNOWN
      47.27.     2009 DODGE LICENSE PLATE # 311 TTC                                    UNKNOWN                                      UNKNOWN
      47.28.     2009 FORD E-250 VIN# 1FTNE24L89DA76062                                UNKNOWN                                      UNKNOWN
      47.29.     2009 FORD LICENSE PLATE # 615 TVW                                     UNKNOWN                                      UNKNOWN
      47.30.     2009 FORD LICENSE PLATE # 977 TTA                                     UNKNOWN                                      UNKNOWN
      47.31.     2009 GMC 1500 VIN# 1GTEC14C49Z900514                                  UNKNOWN                                      UNKNOWN
      47.32.     2010 DODGE RAM VIN# 3D7JB1EP6AG133116                                 UNKNOWN                                      UNKNOWN
      47.33.     2010 FORD E-250 VIN# 1FTNE2EW0ADA28388                                UNKNOWN                                      UNKNOWN
      47.34.     2010 FORD LICENSE PLATE # 426 TTF                                     UNKNOWN                                      UNKNOWN
      47.35.     2011 FORD F-150 VIN# 1FTNF1CF1BKD23958                                UNKNOWN                                      UNKNOWN
      47.36.     2011 FORD F-150 VIN# 1FTNF1CF1BKD32501                                UNKNOWN                                      UNKNOWN
      47.37.     2011 FORD F-150 VIN# 1FTNF1CF3BKD23959                                UNKNOWN                                      UNKNOWN
      47.38.     2011 FORD F-150 VIN# 1FTNF1CF4BKD28569                                UNKNOWN                                      UNKNOWN
      47.39.     2011 FORD LICENSE PLATE # 511 TTP                                     UNKNOWN                                      UNKNOWN
      47.40.     2011 FORD LICENSE PLATE # 519 TTP                                     UNKNOWN                                      UNKNOWN
      47.41.     2011 FORD LICENSE PLATE # 522 MDD                                     UNKNOWN                                      UNKNOWN
      47.42.     2011 FORD LICENSE PLATE # 577 TTP                                     UNKNOWN                                      UNKNOWN
      47.43.     2011 FORD LICENSE PLATE # 579 TTP                                     UNKNOWN                                      UNKNOWN
      47.44.     2011 FORD LICENSE PLATE # 759 MDL                                     UNKNOWN                                      UNKNOWN
      47.45.     2012 FORD E-250 VIN# 1FTNE2EW7CDA27709                                UNKNOWN                                      UNKNOWN
      47.46.     2012 FORD F-150 VIN# 1FTNF1CF1CKD33746                                UNKNOWN                                      UNKNOWN
      47.47.     2012 FORD F-150 VIN# 1FTNF1CFXCKD33745                                UNKNOWN                                      UNKNOWN
      47.48.     2012 FORD F-350 VIN# 1FSTW30RX8EB55337                                UNKNOWN                                      UNKNOWN
      47.49.     2012 FORD LICENSE PLATE # 043 TTV                                     UNKNOWN                                      UNKNOWN
      47.50.     2012 FORD LICENSE PLATE # 130 TTV                                     UNKNOWN                                      UNKNOWN
      47.51.     2012 FORD LICENSE PLATE # 131 TTV                                     UNKNOWN                                      UNKNOWN
      47.52.     2012 FORD LICENSE PLATE # 188 TTV                                     UNKNOWN                                      UNKNOWN
      47.53.     2012 FORD LICENSE PLATE # 291 TTX                                     UNKNOWN                                      UNKNOWN
      47.54.     2012 FORD LICENSE PLATE # 389 TTD                                     UNKNOWN                                      UNKNOWN
      47.55.     2012 NISSAN LICENSE PLATE # 259 TTY                                   UNKNOWN                                      UNKNOWN
      47.56.     2013 FORD E-250 VIN# 1FTNE2EW1DDB13003                                UNKNOWN                                      UNKNOWN


Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                  Page 5 of 8
 Debtor                Case 20-12814-mkn
              PetersenDean Hawaii LLC                    Doc 360         Entered 07/13/20    20:46:35
                                                                                    Case number (if known)      Page 22 of 54
                                                                                                           20-12823-mkn
              (Name)


          General description                                                 Net book value of   Valuation method used   Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   for current value       debtor’s interest
          HIN, or N-number)                                                   (Where available)

 47. AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
     VEHICLES
      47.57. 2013 FORD F-150 VIN# 1FTFW1ET0DFA38980                                    UNKNOWN                                      UNKNOWN
      47.58. 2013 FORD F-150 VIN# 1FTNF1CF3DKD97479                                    UNKNOWN                                      UNKNOWN
      47.59. 2013 FORD F-450 DUMP TRUCK VIN#                                           UNKNOWN                                      UNKNOWN
             1FD0W4HT8DEA81340
      47.60. 2017 FORD F-150 ADMIN VIN# 1FTEW1CG1HKD73566                              UNKNOWN                                      UNKNOWN
      47.61. 2019 FORD F-650 VIN# 1FDNF6DE0KDF12605                                    UNKNOWN                                      UNKNOWN
      47.62. 2019 NISSAN LICENSE PLATE # 113 TWZ                                       UNKNOWN                                      UNKNOWN
      47.63. 2019 NISSAN VAN L VIN# 1N6BF0KM0KN800825                                  UNKNOWN                                      UNKNOWN
      47.64. PURCHASE OF ASSET #5345 2007 FORD F                                       UNKNOWN                                      UNKNOWN

 48. WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES: BOATS,
     TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND FISHING
     VESSELS
      NONE

 49. AIRCRAFT AND ACCESSORIES
      NONE

 50. OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
     EQUIPMENT)
      NONE

 51   Total of Part 8.
      ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.                                                                           UNKNOWN


 52. Is a depreciation schedule available for any of the property listed in Part 8?
     þ No
     ¨ Yes
 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 9:      REAL PROPERTY

 54. DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
      ¨     No. Go to Part 10.
      þ     Yes. Fill in the information below.


 55. ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


          Description and location of property           Nature and extent    Net book value of   Valuation method used   Current value of
          Include street address or other description    of debtor’s          debtor's interest   for current value       debtor’s interest
          such as Assessor Parcel Number (APN), and      interest in          (Where available)
          type of property (for example, acreage,        property
          factory, warehouse, apartment or office
          building), if available

      55.1.       220 LALO ST, UNIT #1, KAHULUI,        REAL PROPERTY                  UNKNOWN                                      UNKNOWN
                  HI 96732                              LEASE
      55.2.       70 E KAAHUMANU AVE, UNIT C-3,         REAL PROPERTY                  UNKNOWN                                      UNKNOWN
                  KAHULUI, HI 96732                     LEASE
      55.3.       99-1265 HALAWA VALLEY ST,             REAL PROPERTY                  UNKNOWN                                      UNKNOWN
                  AIEA, HI 96701                        LEASE
 56   Total of Part 9.
      ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY                                                         UNKNOWN
      ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57. Is a depreciation schedule available for any of the property listed in Part 9?
     þ No
     ¨ Yes




Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                 Page 6 of 8
 Debtor                Case 20-12814-mkn
              PetersenDean Hawaii LLC                  Doc 360       Entered 07/13/20    20:46:35
                                                                                Case number (if known)      Page 23 of 54
                                                                                                       20-12823-mkn
              (Name)


 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 10: INTANGIBLES AND INTELLECTUAL PROPERTY

 59. DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
      ¨     No. Go to Part 11.
      þ     Yes. Fill in the information below.



          General description                                              Net book value of     Valuation method used    Current value of
                                                                           debtor's interest     for current value        debtor’s interest
                                                                           (Where available)

 60. PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS
      NONE

 61. INTERNET DOMAIN NAMES AND WEBSITES
      61.1.       WWW.EDISONBATTERIES.CO                                             UNKNOWN                                            UNKNOWN
      61.2.       WWW.EDISONBATTERY.CO                                               UNKNOWN                                            UNKNOWN
      61.3.       WWW.HALEAKALASOLAR.COM                                             UNKNOWN                                            UNKNOWN
      61.4.       WWW.HALEAKALASOLAR.NET                                             UNKNOWN                                            UNKNOWN
      61.5.       WWW.HALEAKALASOLAR.ORG                                             UNKNOWN                                            UNKNOWN

 62. LICENSES, FRANCHISES, AND ROYALTIES
      NONE

 63. CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS
      NONE

 64. OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY
      NONE

 65. GOODWILL
      NONE

 66   Total of Part 10.
      ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.                                                                               UNKNOWN


 67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     þ No
     ¨ Yes
 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 11: ALL OTHER ASSETS

 70. DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
     INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
      þ     No. Go to Part 12.
      ¨     Yes. Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor’s interest

 71. NOTES RECEIVABLE
      DESCRIPTION (INCLUDE NAME OF OBLIGOR)

 72. TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
      DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)




Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                     Page 7 of 8
 Debtor                 Case 20-12814-mkn
              PetersenDean Hawaii LLC                                Doc 360              Entered 07/13/20    20:46:35
                                                                                                     Case number (if known)      Page 24 of 54
                                                                                                                            20-12823-mkn
              (Name)


                                                                                                                                                            Current value of
                                                                                                                                                            debtor’s interest

 73. INTERESTS IN INSURANCE POLICIES OR ANNUITIES

 74. CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
     BEEN FILED)

 75. OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
     NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
     CLAIMS

 76. TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY

 77. OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
     COUNTRY CLUB MEMBERSHIP

 78    Total of Part 11.
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.                                                                                                     NOT APPLICABLE


 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 12: Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


          Type of property                                                                       Current value of                  Current value of real
                                                                                                 personal property                 property
 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                  $840,389.92

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                        $3,167,820.10


 83. Investments. Copy line 17, Part 4.


 84. Inventory. Copy line 23, Part 5.


 85. Farming and fishing-related assets. Copy line 33, Part 6.


 86. Office furniture, fixtures, and equipment; and collectibles.                                         UNKNOWN
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            UNKNOWN

 88. Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è              UNKNOWN


 89. Intangibles and intellectual property. Copy line 66, Part 10.                                        UNKNOWN

 90. All other assets. Copy line 78, Part 11.                                             +

 91. Total. Add lines 80 through 90 for each column. . . . . . . . . 91a.                              $4,008,210.02         + 91b.           UNKNOWN




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           $4,008,210.02
     .




Official Form 206A/B                                          Schedule A/B: Assets - Real and Personal Property                                                        Page 8 of 8
                         Case 20-12814-mkn                 Doc 360           Entered 07/13/20 20:46:35                   Page 25 of 54
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)
                                                                                                                                            ¨ Check if this is an
                                                                                                                                               amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                 04/19

 Be as complete and accurate as possible.

 1.    1. Do any creditors have claims secured by debtor’s property?
       ¨       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       þ       Yes. Fill in all of the information below.

  Part 1:       List All Creditors with Secured Claims

 2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than           Column A                     Column B
       one secured claim, list the creditor separately for each claim.                                         Amount of claim              Value of collateral that
                                                                                                               Do not deduct the value of   supports this claim
                                                                                                               collateral.

 2.1            Creditor’s name                                   Describe debtor’s property that is                   $28,447,370.00            UNKNOWN
                ACF FINCO I LP                                    subject to a lien
                                                                  ALL ASSETS
                Creditor's mailing address
                560 WHITE PLAINS RD                               Describe the lien
                TARRYTOWN, NY 10591                               LIEN ON ALL ASSETS
                Creditor's email address                          Is the creditor an insider or related
                                                                  party?
                Date or dates debt was incurred
                                                                  þ No
                12/24/2019                                        ¨ Yes
                Last 4 digits of account number:              Is anyone else liable on this claim?
                                                              þ No
                Do multiple creditors have an interest in the
                                                              ¨ Yes
                same property?
                þ No                                          As of the petition filing date, the claim
                ¨ Yes                                         is:
                                                                  Check all that apply.
                                                                  ¨ Contingent
                                                                  ¨ Unliquidated
                                                                  þ Disputed

  3.      Total of the dollar amounts from Part 1, Column A, including the amounts from the                            $28,447,370.00
          Additional Page, if any.




Official Form 206D                              Schedule D: Creditors Who Have Claims Secured by Property                                               Page 1 of 1
                        Case 20-12814-mkn                Doc 360        Entered 07/13/20 20:46:35                Page 26 of 54
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)
                                                                                                                                 ¨ Check if this is an
                                                                                                                                    amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                             04/19

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


  Part 1: List All Creditors with PRIORITY Unsecured Claims


 1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim           Priority amount

 2.1            Priority creditor’s name and mailing address As of the petition filing date, the claim                  $35.00                 $35.00
                                                             is:
                DAWSEN YONTING                               Check all that apply.
                39300 CIVIC CENTER DR.
                SUITE 300                                    þ Contingent
                FREMONT, CA 94538                            þ Unliquidated
                                                             þ Disputed
                Date or dates debt was incurred
                                                             Basis for the claim:
                VARIOUS                                      EMPLOYEE PAYABLE
                Last 4 digits of account number:             Is the claim subject to offset?
                Specify Code subsection of PRIORITY           þ No
                unsecured claim: 11 U.S.C. § 507(a) ()        ¨ Yes

 2.2            Priority creditor’s name and mailing address As of the petition filing date, the claim                  $20.02                 $20.02
                                                             is:
                GABE TORRES                                  Check all that apply.
                39300 CIVIC CENTER DR.
                SUITE 300                                    þ Contingent
                FREMONT, CA 94538                            þ Unliquidated
                                                             þ Disputed
                Date or dates debt was incurred
                                                             Basis for the claim:
                VARIOUS                                      EMPLOYEE PAYABLE
                Last 4 digits of account number:             Is the claim subject to offset?
                Specify Code subsection of PRIORITY           þ No
                unsecured claim: 11 U.S.C. § 507(a) ()        ¨ Yes

 2.3            Priority creditor’s name and mailing address As of the petition filing date, the claim             UNKNOWN                UNKNOWN
                                                             is:
                INTERNAL REVENUE SERVICE LOCAL               Check all that apply.
                OFFICE
                600 ARCH STREET                              þ Contingent
                PHILADELPHIA, PA 19106                       þ Unliquidated
                                                             ¨ Disputed
                Date or dates debt was incurred
                                                             Basis for the claim:
                VARIOUS                                      TAXES PAYABLE
                Last 4 digits of account number:             Is the claim subject to offset?
                Specify Code subsection of PRIORITY           þ No
                unsecured claim: 11 U.S.C. § 507(a) ()        ¨ Yes




Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 1 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                   Doc 360         Entered 07/13/20    20:46:35
                                                                                 Case number (if known)      Page 27 of 54
                                                                                                        20-12823-mkn
            (Name)


  Part 1:   Additional Page

                                                                                                                Total claim            Priority amount

 2.4        Priority creditor’s name and mailing address As of the petition filing date, the claim                          $95.11                $95.11
                                                         is:
            LEIGHANN HUGHES
                                                         Check all that apply.
            39300 CIVIC CENTER DR.
            SUITE 300                                    þ Contingent
            FREMONT, CA 94538                            þ Unliquidated
                                                         þ Disputed
            Date or dates debt was incurred
                                                         Basis for the claim:
            VARIOUS                                      EMPLOYEE PAYABLE
            Last 4 digits of account number:             Is the claim subject to offset?
            Specify Code subsection of PRIORITY             þ No
            unsecured claim: 11 U.S.C. § 507(a) ()          ¨ Yes

 2.5        Priority creditor’s name and mailing address As of the petition filing date, the claim                     $1,000.00              $1,000.00
                                                         is:
            LUIS BONILLA                                 Check all that apply.
            39300 CIVIC CENTER DR.
            SUITE 300                                    þ Contingent
            FREMONT, CA 94538                            þ Unliquidated
                                                         þ Disputed
            Date or dates debt was incurred
                                                         Basis for the claim:
            VARIOUS                                      EMPLOYEE PAYABLE
            Last 4 digits of account number:             Is the claim subject to offset?
            Specify Code subsection of PRIORITY             þ No
            unsecured claim: 11 U.S.C. § 507(a) ()          ¨ Yes

 2.6        Priority creditor’s name and mailing address As of the petition filing date, the claim                    $20,000.00             $20,000.00
                                                         is:
            TIMOTHY E. LEIST                             Check all that apply.
            39300 CIVIC CENTER DR.
            SUITE 300                                    þ Contingent
            FREMONT, CA 94538                            þ Unliquidated
                                                         þ Disputed
            Date or dates debt was incurred
                                                         Basis for the claim:
            VARIOUS                                      EMPLOYEE PAYABLE
            Last 4 digits of account number:             Is the claim subject to offset?
            Specify Code subsection of PRIORITY             þ No
            unsecured claim: 11 U.S.C. § 507(a) ()          ¨ Yes

  Part 2:   List All Creditors with NONPRIORITY Unsecured Claims


 3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
       unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                     Amount of claim

 3.1        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     UNKNOWN
                                                                            Check all that apply.
            220 LALO PLACE, LLC
            661 KAAPPUNI PLACE                                              þ Contingent
            KIHEI, HI 96753                                                 þ Unliquidated
                                                                            þ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         LEASE OBLIGATION
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 28 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.2        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $73,271.70
                                                                       Check all that apply.
            ABC SUPPLY CO INC.
            ATTN JEFF ARMSTRONG, ASST GEN COUNSEL                      þ Contingent
            ONE ABC PARKWAY, SUITE 919                                 þ Unliquidated
            BELOIT, WI 53511-4466                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.3        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $59,148.11
                                                                       Check all that apply.
            AD LEVERAGE
            ATTN ANDREW PALOSI, PRESIDENT                              þ Contingent
            1329 E THOUSAND OAKS BLVD SUITE 200                        þ Unliquidated
            THOUSAND OAKS, CA 91362                                    þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.4        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $115.36
                                                                       Check all that apply.
            ADP LLC
            PO BOX 31001-1874                                          þ Contingent
            PASADENA, CA 91110-1874                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.5        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,546.59
                                                                       Check all that apply.
            AFFORDABLE PRODUCTS LLC
            PO BOX 3446                                                þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.6        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,105.84
                                                                       Check all that apply.
            AFLAC
            1932 WYNNTON RD.                                           þ Contingent
            COLUMBUS, GA 31999-7000                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                               Page 3 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 29 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.7        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $37.17
                                                                       Check all that apply.
            AIRGAS USA LLC
            PO BOX 102289                                              þ Contingent
            PASADENA, CA 91189-2289                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.8        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $625.00
                                                                       Check all that apply.
            AKAMAI LAND SURVEYING, INC.
            P.O. BOX 1748                                              þ Contingent
            MAKAWAO, HI 96768                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.9        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            ALLAN NISHIMURA
            98-827 KAAHELE STREET                                      þ Contingent
            AIEA, HI 96701                                             þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.10       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $127,371.82
                                                                       Check all that apply.
            ALPHA SUPPLY, LLC - MAUI BRANCH
            DBA ALPHA ELECTRIC SUPPLY COMPANY                          þ Contingent
            343 KEA STREET                                             þ Unliquidated
            KAILUA-KONA, HI 96732                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.11       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $20,000.00
                                                                       Check all that apply.
            ALTA HOLDINGS, LLC
            2010 MAIN ST, STE 650                                      þ Contingent
            IRVINE, CA 92614                                           þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                               Page 4 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 30 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.12       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $260,900.87
                                                                       Check all that apply.
            AMERICAN EXPRESS
            PO BOX 650448                                              þ Contingent
            DALLAS, TX 75265-0448                                      þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.13       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,700.00
                                                                       Check all that apply.
            ASSOCIATED BUILDERS AND CONTRACTORS
            HAWAII CHAPTER                                             þ Contingent
            1375 DILLINGHAM BLVD., SUITE 200                           þ Unliquidated
            HONOLULU, HI 96817                                         þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.14       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,280.00
                                                                       Check all that apply.
            AXA EQUITABLE
            PO BOX 8004                                                þ Contingent
            BOSTON, MA 02266                                           þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.15       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $276,010.02
                                                                       Check all that apply.
            BEACON SALES ACQUISITION
            PO BOX 740914                                              þ Contingent
            LOS ANGELES, CA 90074                                      þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.16       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $159.85
                                                                       Check all that apply.
            BOARD OF WATER SUPPLY
            630 SOUTH BERETANIA ST.                                    þ Contingent
            HONOLULU, HI 96843                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                               Page 5 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 31 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.17       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,350.00
                                                                       Check all that apply.
            BTC SERVICES AND REPAIR
            PO BOX 3120                                                þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.18       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $29,178.73
                                                                       Check all that apply.
            CACHE VALLEY ELECTRIC CO.
            PO BOX 405                                                 þ Contingent
            LOGAN, UT 84323-0405                                       þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.19       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $744.82
                                                                       Check all that apply.
            CASE LOMBARDI & PETTIT CLIENT TRUST
            MAUKA TOWER, PACIFIC GUARDIAN CTR                          þ Contingent
            737 BISHOP ST, STE 2600                                    þ Unliquidated
            HONOLULU, HI 96813-3283                                    þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.20       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,058.73
                                                                       Check all that apply.
            CCH - COURIER CORPORATION OF HAWAII
            PO BOX 30507                                               þ Contingent
            HONOLULU, HI 96820                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.21       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,766.64
                                                                       Check all that apply.
            CED GREENTECH
            PO BOX 847080                                              þ Contingent
            LOS ANGELES, CA 90084-7080                                 þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                               Page 6 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 32 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.22       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $108.34
                                                                       Check all that apply.
            CENTRAL MAUI PROPANE
            P.O.BOX 2049                                               þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.23       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $523.56
                                                                       Check all that apply.
            CKM ARCHITECTS, LLC
            98-829 LEIALII STREET                                      þ Contingent
            AIEA, HI 96701                                             þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.24       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,401.58
                                                                       Check all that apply.
            COMPLETE ACCOUNTING SOLUTIONS LLC
            4450 KULA HWY., 1263                                       þ Contingent
            KULA, HI 96790                                             þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.25       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $364.66
                                                                       Check all that apply.
            COSCO, INC.
            PO BOX 1300                                                þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.26       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $496.38
                                                                       Check all that apply.
            COVERALL NORTH AMERICA INC
            2955 MOMENTUM PLACE                                        þ Contingent
            CHICAGO, IL 60689                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                               Page 7 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 33 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.27       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            CUTTER HONOLULU INC
            94-152 LEONUI ST                                           þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.28       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,757.03
                                                                       Check all that apply.
            DAVID'S FENCING, INC.
            94-079 LEOKANE ST.                                         þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.29       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $929.09
                                                                       Check all that apply.
            DELUXE
            P.O. BOX 4656                                              þ Contingent
            CAROL STREAM, IL 60197-4656                                þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.30       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $41,232.88
                                                                       Check all that apply.
            DINERS CLUB (4840)
            PO BOX 5732                                                þ Contingent
            CAROL STREAM, IL 60197-5732                                þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.31       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $537.80
                                                                       Check all that apply.
            DOLPHIN GRAPHICS
            17200 FOOTHILL BLVD.                                       þ Contingent
            CASTRO VALLEY, CA 94546                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                               Page 8 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 34 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.32       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,464.00
                                                                       Check all that apply.
            EAGLE VIEW TECHNOLOGIES, INC.
            DEPT CH 16524                                              þ Contingent
            PALATINE, IL 60055-6524                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.33       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $500.00
                                                                       Check all that apply.
            EDGEWOOD PARTNERS INSURANCE CENTER
            PO BOX 511389                                              þ Contingent
            LOS ANGELES, CA 90517-9944                                 þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.34       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,749.47
                                                                       Check all that apply.
            ELECTRATECH SERVICES LLC
            6386 AHELE DRIVE                                           þ Contingent
            KAPAA, HI 96746                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.35       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,584.73
                                                                       Check all that apply.
            ENTERPRISE FM TRUST
            ENTERPRISE FLEET MGMT CUST BILLING                         þ Contingent
            PO BOX 800089                                              þ Unliquidated
            KANSAS CITY, MO 64180-0089                                 þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.36       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,219.59
                                                                       Check all that apply.
            FAMILY CUSTOM DESIGNS
            1020 NEVADA ST., SUITE 203                                 þ Contingent
            REDLANDS, CA 92374                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                               Page 9 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 35 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.37       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,000.58
                                                                       Check all that apply.
            FASTENAL COMPANY
            ATTN: ACCOUNTS REC                                         þ Contingent
            PO BOX 1286                                                þ Unliquidated
            WINONA, MN 55987-1286                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.38       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $296.35
                                                                       Check all that apply.
            FEDEX
            PO BOX 660481                                              þ Contingent
            DALLAS, TX 75266                                           þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.39       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $521.61
                                                                       Check all that apply.
            FIRST HAWAII BANK
            20 WEST KAAHUMANU AVENUE                                   þ Contingent
            KAHULUI BANKING CENTER                                     þ Unliquidated
            KAHULUI, HI 96732                                          þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.40       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $332.74
                                                                       Check all that apply.
            FIRST HAWAII BANK
            20 WEST KAAHUMANU AVENUE                                   þ Contingent
            KAHULUI BANKING CENTER                                     þ Unliquidated
            KAHULUI, HI 96732                                          þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.41       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $304.37
                                                                       Check all that apply.
            FISHER HAWAII
            950 MAPUNAPUNA ST.                                         þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 10 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 36 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.42       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $465.32
                                                                       Check all that apply.
            FUSION ELECTRIC SUPPLY LLC
            59 LAA STREET, UNIT 61-B                                   þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.43       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $740.13
                                                                       Check all that apply.
            GARDEN ISLE DISPOSAL, INC.
            2666 NIUMALU ROAD                                          þ Contingent
            LIHUE, HI 96766                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.44       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,111.49
                                                                       Check all that apply.
            GOODYEAR TIRE & RUBBER CO.
            121 ALAMAHA STREET                                         þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.45       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $214.13
                                                                       Check all that apply.
            GOODYEAR TIRE & RUBBER CO.
            121 ALAMAHA STREET                                         þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.46       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,926.72
                                                                       Check all that apply.
            HAGGITH'S STRUCTURAL SCAN
            47-338 MAWAENA ST.                                         þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 11 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 37 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.47       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $22,999.10
                                                                       Check all that apply.
            HALAWA HOUSE OF THE SUN LLC
            220 LALO STREET, SUITE 1                                   þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.48       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            HALAWA HOUSE OF THE SUN, LLC
            661 KAAPUNI PLACE                                          þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    LEASE OBLIGATION
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.49       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $232.31
                                                                       Check all that apply.
            HAWAII BLUEPRINT & SUPPLY
            575 COOKE ST. SUITE C                                      þ Contingent
            HONOLULU, HI 96813                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.50       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $85,626.76
                                                                       Check all that apply.
            HAWAII MEDICAL SERVICE ASSOCIATION
            PO BOX 29810                                               þ Contingent
            HONOLULU, HI 96820-2210                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.51       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $806.93
                                                                       Check all that apply.
            HAWAII NUT & BOLT, INC
            905 AHUA STREET                                            þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 12 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 38 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.52       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,089.93
                                                                       Check all that apply.
            HAWAII PETROLEUM INC
            385 HUKILIKE ST. SUITE 101                                 þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.53       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,500.00
                                                                       Check all that apply.
            HAWAII SOLAR ENERGY ASSOCIATION
            PO BOX 37070                                               þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.54       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            HAWAII TRUCK UPFITTERS
            98-025 HEKAHA ST, BLDG 2 UNIT 8                            þ Contingent
            AIEA, HI 96701                                             þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.55       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,666.16
                                                                       Check all that apply.
            HAWAIIAN ELECTRIC COMPANY
            P.O. BOX 29570                                             þ Contingent
            HONOLULU, HI 96820-1970                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    UTILITY
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.56       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,073.39
                                                                       Check all that apply.
            HAWAIIAN TELCOM
            624 S GRAND AVE                                            þ Contingent
            LOS ANGELES, CA 90017                                      þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 13 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 39 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.57       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,070.58
                                                                       Check all that apply.
            HD SUPPLY CONSTR & INDUST-WHITE CAP
            PO BOX 6040                                                þ Contingent
            CYPRESS, CA 90630-0040                                     þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.58       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,835.67
                                                                       Check all that apply.
            HERC RENTALS, INC.
            PO BOX 936257                                              þ Contingent
            ATLANTA, GA 31193                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.59       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $200.00
                                                                       Check all that apply.
            HIDERU INOUE
            2411 SAINT LOUIS DRIVE                                     þ Contingent
            HONOLULU, HI 96816                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.60       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $111.70
                                                                       Check all that apply.
            HIRERIGHT
            CORPORATE RISK HOLDING III, INC.                           þ Contingent
            PO BOX 847891                                              þ Unliquidated
            DALLAS, TX 75284-7891                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.61       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $317.42
                                                                       Check all that apply.
            HONBLUE INC.
            501 SUMNER STREET 3B1                                      þ Contingent
            HONOLULU, HI 96817                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 14 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 40 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.62       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,846.52
                                                                       Check all that apply.
            HONOLULU DISPOSAL SERVICE, INC.
            P.O. BOX 30490                                             þ Contingent
            HONOLULU, HI 96820-0490                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.63       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,012.30
                                                                       Check all that apply.
            HONSADOR LUMBER LLC
            250 LALO PL.                                               þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.64       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            HPM BUILDING SUPPLY
            16-166 MELEKAHIWA STREET                                   þ Contingent
            KEAAU, HI 96749                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.65       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $116,966.14
                                                                       Check all that apply.
            INDEPENDENT ELECTRIC SUPPLY INC
            ATTN KRIS BEAUCHMAN                                        þ Contingent
            2001 MARINA BLVD.                                          þ Unliquidated
            SAN LEANDRO, CA 94577                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.66       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,756.89
                                                                       Check all that apply.
            INTEGRATED BUSINESS SOLUTIONS OF HI
            99-1046 IWAENA STREET                                      þ Contingent
            AIEA, HI 96701                                             þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 15 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 41 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.67       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $894,962.83
                                                                       Check all that apply.
            INTER ISLAND SOLAR SUPPLY
            ATTN BRIAN GOLD, PRESIDENT                                 þ Contingent
            761 AHUA STREET                                            þ Unliquidated
            HONOLULU, HI 96819                                         þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.68       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $830.47
                                                                       Check all that apply.
            JOHN H. RUST
            92-6024 KOHI STREET                                        þ Contingent
            KAPOLEI, HI 96707-3302                                     þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.69       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,645.83
                                                                       Check all that apply.
            K2N CREST
            CREST CONSULTING ENGINEERS P.C.                            þ Contingent
            1010 JORIE BLVD., SUITE 320                                þ Unliquidated
            OAK BROOK, IL 60523                                        þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.70       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $10,292.52
                                                                       Check all that apply.
            KAISER PERMANENTE
            P.O. BOX 29080                                             þ Contingent
            HONOLULU, HI 96820-1480                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.71       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $206.63
                                                                       Check all that apply.
            KONICA MINOLTA BUSINESS SOLUTIONS
            DEPT LA 22988                                              þ Contingent
            PASADENA, CA 91185-2988                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 16 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 42 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.72       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,020.67
                                                                       Check all that apply.
            LCA BANK CORPORATION
            1375 DEER VALLEY DR., SUITE 218                            þ Contingent
            PARK CITY, UT 84060                                        þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.73       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $750.00
                                                                       Check all that apply.
            LEILA STRINGER
            94-332 PAUWALA PLACE                                       þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.74       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            LIPT EAST KAAHUMANU AVE
            C/O FESTIVAL MANAGEMENT CORPORATION                        þ Contingent
            5901 CENTURY BLVD., SUITE 700                              þ Unliquidated
            LOS ANGELES, CA 90045                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       LEASE OBLIGATION
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.75       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $24,835.89
                                                                       Check all that apply.
            LIPT EAST KAAHUMANU AVE LLC
            P.O. BOX 740830                                            þ Contingent
            LOS ANGELES, CA 90074-0830                                 þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.76       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,566.00
                                                                       Check all that apply.
            MARK HUMPHRIES
            164 ULUMALU                                                þ Contingent
            HAIKU, HI 96708                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 17 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 43 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.77       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $90.36
                                                                       Check all that apply.
            MAUI ELECTRIC CO LTD
            PO BOX 310040                                              þ Contingent
            HONOLULU, HI 96820-1040                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.78       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $500.00
                                                                       Check all that apply.
            MORIKAWA & ASSOCIATES, LLC
            PO BOX 880280                                              þ Contingent
            PUKALANI, HI 96788                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.79       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $20,619.00
                                                                       Check all that apply.
            MSC INDUSTRIAL SUPPLY CO.
            PO BOX 78845                                               þ Contingent
            MILWAUKEE, WI 53278-8845                                   þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.80       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,129.31
                                                                       Check all that apply.
            ONESOURCE DISTRIBUTORS LLC
            ATTN MIKE SMITH, PRESIDENT                                 þ Contingent
            P.O. BOX 740527                                            þ Unliquidated
            LOS ANGELES, CA 90074-0527                                 þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.81       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $609.99
                                                                       Check all that apply.
            PACE SUPPLY CORP
            PO BOX 6407                                                þ Contingent
            ROHNERT PARK, CA 94927-6407                                þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 18 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 44 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.82       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $875.00
                                                                       Check all that apply.
            PACIFIC CONCRETE CUTTING & CORING
            PO BOX 662261                                              þ Contingent
            LIHUE, HI 96766                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.83       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              ($145.80)
                                                                       Check all that apply.
            PACIFIC ENERGY ALTERNATIVES
            955 S. MCCARRAN BLVD                                       þ Contingent
            SPARKS, NV 89503                                           þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.84       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            PAM ZUSMAN
            1167 KAENA STREET                                          þ Contingent
            KALAHEO, HI 96741                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.85       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,305.00
                                                                       Check all that apply.
            PAULICON CORPORATION
            3463 ASHTON COURT                                          þ Contingent
            PALO ALTO, CA 94306                                        þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.86       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,096.35
                                                                       Check all that apply.
            PETEROCK, INC.
            1961 VINEYARD STREET                                       þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 19 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 45 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.87       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $12,026.39
                                                                       Check all that apply.
            PIONEER ELECTRIC, INC.
            228 MOHONUA PL.                                            þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.88       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $593.17
                                                                       Check all that apply.
            PITNEY BOWES
            GLOBAL FINANCIAL SERVICES LLC                              þ Contingent
            P.O. BOX 371887                                            þ Unliquidated
            PITTSBURGH, PA 15250-7887                                  þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.89       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $21,256.47
                                                                       Check all that apply.
            R&C ENTERPRISES, LLC
            R&C ROOFING CONTRACTOR                                     þ Contingent
            PO BOX 583                                                 þ Unliquidated
            PEARL CITY, HI 96782                                       þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.90       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,480.17
                                                                       Check all that apply.
            R&R SERVICES, INC.
            922 AUSTIN LN., BUILDING D                                 þ Contingent
            HONOLULU, HI 96817                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.91       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $472.11
                                                                       Check all that apply.
            SPECTRUM BUSINESS
            PO BOX 60074                                               þ Contingent
            CITY OF INDUSTRY, CA 91716-0074                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 20 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 46 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.92       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,493.16
                                                                       Check all that apply.
            STAPLES ADVANTAGE
            PO BOX 660409                                              þ Contingent
            DALLAS, TX 75266-0409                                      þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.93       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $680.62
                                                                       Check all that apply.
            TERMINIX INTERNATIONAL CO., LP
            150 PEABODY PLACE                                          þ Contingent
            MEMPHIS, TN 38103                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.94       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $187,219.38
                                                                       Check all that apply.
            TESLA, INC.
            ATTN JONATHAN BUTLER, DEPUTY GEN COUNSEL                   þ Contingent
            3055 CLEARVIEW WAY                                         þ Unliquidated
            SAN MATEO, CA 94402                                        þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.95       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,505.89
                                                                       Check all that apply.
            TIRES WAREHOUSE HAWAII
            181 DAIRY RD.                                              þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.96       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $951.76
                                                                       Check all that apply.
            VALLEY ISLE AUTOMOTIVE INC
            970 B LOWER MAIN ST.                                       þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 21 of 23
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                             Case number (if known)      Page 47 of 54
                                                                                                    20-12823-mkn
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.97       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,356.42
                                                                       Check all that apply.
            VERIZON CONNECT FLEET USA LLC
            PO BOX 15043                                               þ Contingent
            ALBANY, NY 12212-5043                                      þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.98       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $990.65
                                                                       Check all that apply.
            VERNON CENO
            85-1307 KANEILIO STREET                                    þ Contingent
            WAIANAE, HI 96792                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.99       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,669.37
                                                                       Check all that apply.
            VINCI & ASSOCIATES
            175 E. WILBUR ROAD, SUITE 103                              þ Contingent
            THOUSAND OAKS, CA 91360                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.100      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,320.24
                                                                       Check all that apply.
            WASTE PRO HAWAII LLC
            301 HANSEN RD                                              þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.101      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,165.62
                                                                       Check all that apply.
            WEX BANK
            PO BOX 6293                                                þ Contingent
            CAROL STREAM, IL 60197-6293                                þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 22 of 23
 Debtor                Case 20-12814-mkn
              PetersenDean Hawaii LLC                 Doc 360       Entered 07/13/20    20:46:35
                                                                               Case number (if known)      Page 48 of 54
                                                                                                      20-12823-mkn
              (Name)


  Part 2:     Additional Page

                                                                                                                                 Amount of claim

 3.102        Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                        $36,858.62
                                                                          Check all that apply.
              WSP USA BUILDINGS INC
              1 PENN PLAZA                                                þ Contingent
              250 W 34TH ST 2ND FL                                        þ Unliquidated
              NEW YORK, NY 10119                                          þ Disputed
              Date or dates debt was incurred                             Basis for the claim:
                                                                          TRADE PAYABLE
              VARIOUS
                                                                          Is the claim subject to offset?
              Last 4 digits of account number:                            þ No
                                                                          ¨ Yes

    Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


   5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                                      Total of claim amounts


   5a. Total claims from Part 1                                                                             5a.                      $21,150.13



   5b. Total claims from Part 2                                                                             5b.   +               $2,473,495.69



   5c. Total of Parts 1 and 2                                                                               5c.                   $2,494,645.82
       Lines 5a + 5b = 5c.




Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 23 of 23
                         Case 20-12814-mkn                   Doc 360          Entered 07/13/20 20:46:35                    Page 49 of 54
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number          20-12823-mkn
  (if known)
                                                                                                                                            ¨ Check if this is an
                                                                                                                                               amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                       04/19

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.    Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
               Form 206A/B).

 2.    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                            whom the debtor has an executory contract or unexpired lease

 2.1            State what the contract       LEASE AGREEMENT - 220 LALO ST,                  220 LALO PLACE, LLC
                or lease is for and the       UNIT #1, KAHULUI, HI 96732 - OFFICE             661 KAAPPUNI PLACE
                nature of the debtor’s                                                        KIHEI, HI 96753
                interest
                State the term remaining      9/30/2021

                List the contract number
                of any government
                contract

 2.2            State what the contract       BUILDER AGREEMENT RE: ALOHA EYE                 ALOHA EYE CLINIC LTD
                or lease is for and the       CLINIC LTD DATED 12/30/2019                     DR JIVIN TANTISIRA
                nature of the debtor’s                                                        450 HOOKAHI STREET
                interest                                                                      WAILUKU, HI 96793

                State the term remaining      CURRENT

                List the contract number
                of any government
                contract

 2.3            State what the contract       BUILDER AGREEMENT RE: SPECTRUM                  CHARTER COMMUNICATIONS
                or lease is for and the       REMOVE & REINSTALL DATED 5/8/2020
                nature of the debtor’s
                interest
                State the term remaining      CURRENT

                List the contract number
                of any government
                contract

 2.4            State what the contract       BUILDER AGREEMENT RE: SPECTRUM                  CHARTER COMMUNICATIONS
                or lease is for and the       REROOF DATED 5/8/2020
                nature of the debtor’s
                interest
                State the term remaining      CURRENT

                List the contract number
                of any government
                contract




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 3
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                Doc 360       Entered 07/13/20    20:46:35
                                                                            Case number (if known)      Page 50 of 54
                                                                                                   20-12823-mkn
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.5        State what the contract    BUILDER AGREEMENT RE: KIHAPAI HUI      ETERNAX SOLAR
            or lease is for and the    DATED 12/18/2019                       564 WALD
            nature of the debtor’s                                            IRVINE, CA 92618
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.6        State what the contract    BUILDER AGREEMENT RE:                  FAR WEST PROPERTIES, LLC
            or lease is for and the    INTERNATIONAL TRUCKING                 MARK YRAGUI
            nature of the debtor’s     (CONTRACT) DATED 9/26/2019             91-554 KOMOHANA STREET LOT 9
            interest                                                          KAPOLEI, HI 96707

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.7        State what the contract    LEASE AGREEMENT - 99-1265 HALAWA       HALAWA HOUSE OF THE SUN, LLC
            or lease is for and the    VALLEY ST, AIEA, HI 96701 - OFFICE     661 KAAPUNI PLACE
            nature of the debtor’s                                            KIHEI, HI 96753
            interest
            State the term remaining   9/30/2021

            List the contract number
            of any government
            contract

 2.8        State what the contract    BUILDER AGREEMENT RE: IAO              IAO GARDENS AOAO
            or lease is for and the    GARDENS AOAO DATED 8/27/2019           PERRY KUNIN / NATHAN DOLE
            nature of the debtor’s                                            2180 VINEYARD STREET
            interest                                                          WAILUKU, HI 96793

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.9        State what the contract    BUILDER AGREEMENT RE: KAI WAHINE       KAI WAHINE COMMUNITY CENTER
            or lease is for and the    COMMUNITY CENTER DATED 8/15/2019       ROBYBE VETTRAINO
            nature of the debtor’s                                            TMK
            interest                                                          KIHEI, HI 96753

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.10       State what the contract    BUILDER AGREEMENT RE: KAI WAHINE       KAI WAHINE COMMUNITY CENTER
            or lease is for and the    PUMP HOUSE DATED 8/16/2019             ROBYBE VETTRAINO
            nature of the debtor’s                                            TMK
            interest                                                          KIHEI, HI 96753

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 3
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                 Doc 360      Entered 07/13/20    20:46:35
                                                                            Case number (if known)      Page 51 of 54
                                                                                                   20-12823-mkn
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.11       State what the contract    LEASE AGREEMENT - 70 E KAAHUMANU LIPT EAST KAAHUMANU AVE
            or lease is for and the    AVE, UNIT C-3, KAHULUI, HI 96732 - C/O FESTIVAL MANAGEMENT CORPORATION
            nature of the debtor’s     WAREHOUSE                          5901 CENTURY BLVD., SUITE 700
            interest                                                      LOS ANGELES, CA 90045

            State the term remaining   12/31/2024

            List the contract number
            of any government
            contract

 2.12       State what the contract    BUILDER AGREEMENT RE: 100              RIEDEL CONSTRUCTION, INC
            or lease is for and the    KAMAOLE SOLAR HOT WATER DATED          PO BOX 1656
            nature of the debtor’s     2/11/2020                              KAHULUI, HI 96733
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.13       State what the contract    EXTENDED TRADE PAYABLES                TARGRAY TECHNOLOGY INTERNATIONAL
            or lease is for and the    AGREEMENT TO ALLOW PDI/PDS/PDH         8105 TRANSCANADIENNE
            nature of the debtor’s     TO VENDOR BALANCE THROUGH              KIRKLAND, QC H9J3Z4
            interest                   DECEMBER 18, 2020.                     CANADA

            State the term remaining   1/14/2020

            List the contract number
            of any government
            contract

 2.14       State what the contract    BUILDER AGREEMENT RE: KOKO             VOLTA CHARGING LLC
            or lease is for and the    MARINA CENTER PHASE 2 -INSTALL         155 DE HARO STREET
            nature of the debtor’s     DATED 5/24/2019                        SAN FRANCISCO, CA 94103
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.15       State what the contract    BUILDER AGREEMENT RE: HAUIKI           WATERS, CHAD
            or lease is for and the    GUARD HOUSE DATED 9/24/2018            1050 BISHOP STREET
            nature of the debtor’s                                            HONOLULU, HI 96813
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                 Page 3 of 3
                        Case 20-12814-mkn                Doc 360           Entered 07/13/20 20:46:35                    Page 52 of 54
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)
                                                                                                                                         ¨ Check if this is an
                                                                                                                                            amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                                        4/19

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.     Does the debtor have any codebtors?
        ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        þ Yes.

 2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
        Column 1: Codebtor                                                                           Column 2: Creditor
                                                                                                                                            Check all schedules
                Name                          Mailing Address                                          Name                                 that apply

 2.1            CALIFORNIA EQUIPMENT          39300 CIVIC CENTER DRIVE, SUITE 300                      ACF FINCO I LP                       þ D
                LEASING ASSOCIATION,          FREMONT, CA 94538                                                                             ¨ E/F
                INC.                                                                                                                        ¨ G

 2.2            FENCES4AMERICA, INC.          2201 WALNUT AVE, SUITE 300                               ACF FINCO I LP                       þ D
                                              FREMONT, CA 94538                                                                             ¨ E/F
                                                                                                                                            ¨ G

 2.3            PACIFIC COAST ROOFING & 39300 CIVIC CENTER DRIVE, SUITE 300                            ACF FINCO I LP                       þ D
                CONSTRUCTION, INC.      FREMONT, CA 94538                                                                                   ¨ E/F
                                                                                                                                            ¨ G

 2.4            PD SOLAR, INC.                39300 CIVIC CENTER DRIVE, SUITE 300                      ACF FINCO I LP                       þ D
                                              FREMONT, CA 94538                                                                             ¨ E/F
                                                                                                                                            ¨ G

 2.5            PD SOLAR, INC.                39300 CIVIC CENTER DRIVE, SUITE 300                      TARGRAY TECHNOLOGY                   ¨ D
                                              FREMONT, CA 94538                                        INTERNATIONAL, INC.                  þ E/F
                                                                                                                                            ¨ G

 2.6            PETERSENDEAN BUILDER          39300 CIVIC CENTER DRIVE, SUITE 300                      ACF FINCO I LP                       þ D
                GROUP, INC.                   FREMONT, CA 94538                                                                             ¨ E/F
                                                                                                                                            ¨ G

 2.7            PETERSEN-DEAN                 39300 CIVIC CENTER DRIVE, SUITE 300                      ACF FINCO I LP                       þ D
                COMMERCIAL, INC.              FREMONT, CA 94538                                                                             ¨ E/F
                                                                                                                                            ¨ G

 2.8            PETERSENDEAN ROOFING 7517 CURRENCY DRIVE                                               ACF FINCO I LP                       þ D
                AND SOLAR SYSTEMS, INC. ORLANDO, FL 32809                                                                                   ¨ E/F
                                                                                                                                            ¨ G

 2.9            PETERSENDEAN TEXAS,           14713 JERSEY SHORE DRIVE                                 ACF FINCO I LP                       þ D
                INC.                          HOUSTON, TX 77047                                                                             ¨ E/F
                                                                                                                                            ¨ G

 2.10           PETERSEN-DEAN, INC.           39300 CIVIC CENTER DRIVE, SUITE 300                      ACF FINCO I LP                       þ D
                                              FREMONT, CA 94538                                                                             ¨ E/F
                                                                                                                                            ¨ G

 2.11           PETERSEN-DEAN, INC.           39300 CIVIC CENTER DRIVE, SUITE 300                      TARGRAY TECHNOLOGY                   ¨ D
                                              FREMONT, CA 94538                                        INTERNATIONAL, INC.                  þ E/F
                                                                                                                                            ¨ G


Official Form 206H                                                 Schedule H: Codebtors                                                              Page 1 of 2
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC               Doc 360      Entered 07/13/20    20:46:35
                                                                          Case number (if known)      Page 53 of 54
                                                                                                 20-12823-mkn
            (Name)


        Additional Page if Debtor Has More Codebtors

        Column 1: Codebtor                                                         Column 2: Creditor
                                                                                                                  Check all schedules
            Name                        Mailing Address                             Name                          that apply

 2.12       RED ROSE, INC.              4530 NORTH WALNUT ROAD                      ACF FINCO I LP               þ D
                                        LAS VEGAS, NV 89081                                                      ¨ E/F
                                                                                                                 ¨ G

 2.13       ROOFS 4 AMERICA, INC.       2201 WALNUT AVE, SUITE 300                  ACF FINCO I LP               þ D
                                        FREMONT, CA 94538                                                        ¨ E/F
                                                                                                                 ¨ G

 2.14       SOLAR 4 AMERICA, INC.       39300 CIVIC CENTER DRIVE, SUITE 300         ACF FINCO I LP               þ D
                                        FREMONT, CA 94538                                                        ¨ E/F
                                                                                                                 ¨ G

 2.15       SONOMA ROOFING              39300 CIVIC CENTER DRIVE, SUITE 300         ACF FINCO I LP               þ D
            SERVICES, INC.              FREMONT, CA 94538                                                        ¨ E/F
                                                                                                                 ¨ G

 2.16       TRI VALLEY SUPPLY, INC.     39300 CIVIC CENTER DRIVE, SUITE 300         ACF FINCO I LP               þ D
                                        FREMONT, CA 94538                                                        ¨ E/F
                                                                                                                 ¨ G




Official Form 206H                                        Schedule H: Codebtors                                          Page 2 of 2
                        Case 20-12814-mkn                Doc 360            Entered 07/13/20 20:46:35                  Page 54 of 54
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    04/19
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.

                Delcaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          ¨ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on 7/13/2020
                           MM / DD / YYYY
                                                           û     /s/ Stephen Nerheim
                                                                 Signature of individual signing on behalf of debtor


                                                                 Stephen Nerheim
                                                                 Printed name


                                                                 CFO
                                                                 Position or relationship to debtor




Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
